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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 IN RE:                                                   Chapter 7

 CENTRAL GROCERS, INC., et al.,                           Case No. 17-13886
                                                          (Jointly Administered)
          Debtors.
                                                          Hon. Janet S. Baer

 HOWARD B. SAMUELS, solely as chapter 7
 trustee of the estates of CENTRAL
 GROCERS, INC., et al.,1

          Plaintiff,
                                                          Adversary No. 19-01011
 v.


 JOHN COARI, JOHN CORTESI,
 ANTHONY DAL PRA, JAMES
 DREMONAS, TONY INGRAFFIA, MARIA
 KAMBEROS, JOHN KOTARA, TIMOTHY
 KUBIS, JOSEPH KUMKOSKI, FRANK
 KUMKOSKI, JOHN LAGESTEE, KERRY
 LAVELLE, ROBERT LEE, ALFREDO
 LINARES, KENNETH NEMETH,
 ROBERTINO PRESTA, ROSIE REGAS,
 solely as special representative for decedent
 JOHN REGAS, JAMES ROBERTSON, and
 JUNE SULLIVAN, solely as special
 representative for decedent JOHN
 SULLIVAN,

          Defendants.


             STIPULATION OF DISMISSAL OF ADVERSARY PROCEEDING
          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Bankruptcy Procedure 7041

and Federal Rule of Civil Procedure 41(a)(1)(A)(ii), plaintiff Howard B. Samuels, not individually,

      1
      The Debtors in these Chapter 7 cases, along with the last four of each debtor’s federal tax
identification number, as applicable, are Central Grocers, Inc. (3170), Strack and Van Til Super
Market, Inc. (2184), and SVT, LLC (1185).

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but as Chapter 7 trustee for the bankruptcy estates of Central Grocers, Inc., Strack and Van Til

Super Market, Inc., and SVT, LLC, and defendants John Coari, John Cortesi, Anthony Dal Pra,

James Dremonas, Tony Ingraffia, Maria Kamberos, John Kotara, Timothy Kubis, Joseph

Kumkoski, Kathy L. Christl, solely as Trustee of the Frank Kumkoski Trust Dated December 12,

2002, as completely amended and restated on May 25, 2017, John Lagestee, Kerry Lavelle, Robert

Lee, Alfredo Linares, Kenneth Nemeth, Robertino Presta, Rosie Regas, solely as special

representative for decedent John Regas, James Robertson, and June Sullivan, solely as special

representative for decedent John Sullivan, by and through their respective counsel, hereby stipulate

to the dismissal of the above-captioned adversary proceeding in its entirety with prejudice, with

each party to bear its own fees and costs.


 Dated: May 10, 2022                                 Respectfully submitted,

 /s/ J. Benjamin King                                /s/ Mason N. Floyd
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 Samuels, Chapter 7 Trustee for the estates of       Maria Kamberos, John Kotara, Joseph
 Central Grocers, Inc., Strack and Van Til           Kumkoski, Kathy L. Christl, John Lagestee,
 Super Market, Inc., and SVT, LLC                    Kerry Lavelle, Robert Lee, Alfredo Linares,
                                                     Kenneth Nemeth, Rosie Regas, and John
                                                     Robertson




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